Case 2:O4-CV-03031-SHI\/|-STA Document 4 Filed 08/19/05 Page 1 of 2 Page|D 11

Fll.ED BY _____ D.O.
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE OSAUS|Q AH 6=5|
WESTERN DIVISION

 

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MACK TRANSOU,
Plaintiff,
v. Cv. No. 04-3031-Ma
TENNESSEE DEPARTMENT OF
CORRECTION, et al.,
Defendants.
JUDGMENT
Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
in accordance with the Order of Dismissal, docketed August l,
2005. Any appeal in this matter by Plaintiff, proceeding §§
forma pauperis, is not taken in good faith.

APPROW{/ ¢M

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
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August 24, 2005 to the parties listed.

 

 

Mack Transou

SOUTH CENTRAL CORRECTIONAL CENTER
P.O. Box 279

Clifton7 TN 38425

Honorable Samuel Mays
US DISTRICT COURT

